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                     17   Attorneys for Plaintiff
                          ROVI GUIDES, INC.
                     18
                                               UNITED STATES DISTRICT COURT
                     19                       CENTRAL DISTRICT OF CALIFORNIA
                                                    WESTERN DIVISION
                     20
                          ROVI GUIDES, INC.,                       )   Case No. 2:19-cv-00275-AG-FFM
                     21                                            )
                          Plaintiff,                               )
                     22   v.                                           Judge: Andrew J. Guilford
                                                                   )
                     23   COMCAST CORPORATION; COMCAST             )
                          CABLE COMMUNICATIONS, LLC;               )
                     24                                            )   STIPULATION TO FILE FIRST
                          COMCAST CABLE COMMUNICATIONS                 AMENDED COMPLAINT
                     25   MANAGEMENT, LLC; COMCAST                 )
                          BUSINESS COMMUNICATIONS, LLC;            )   DEMAND FOR JURY TRIAL
                     26   COMCAST HOLDINGS CORPORATION;            )
                          COMCAST SHARED SERVICES, LLC;            )
                     27   COMCAST OF SANTA MARIA, LLC; and         )
                     28   COMCAST OF LOMPOC, LLC,                  )
                                                                   )
                          Defendants.                              )
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                     1          Plaintiff Rovi Guides, Inc. (Rovi) and Defendants Comcast Corporation,
                     2    Comcast Cable Communications, LLC, Comcast Cable Communications
                     3    Management, LLC, Comcast Business Communications, LLC, Comcast Holdings
                     4    Corporation, NBCUniversal Shared Services, LLC (formerly known as Comcast
                     5    Shared Services, LLC), Comcast of Santa Maria, LLC, and Comcast of Lompoc,
                     6    LLC, submit the following Stipulation to File its First Amended Complaint under
                     7    Local Rule 15-1:
                     8          WHEREAS, Rovi filed its initial complaint in the above-titled action on
                     9    January 14, 2019;
                     10         WHEREAS, Rovi filed proofs of service according to which its summons and
                     11   complaint were served on Defendants on January 16 and 17, 2019;
                     12         WHEREAS, counsel for Defendants appeared on February 1, 2019;
                     13         WHEREAS, Defendants requested and Rovi agreed to extend the deadline for
              P.C.
                C




                     14   Defendants to answer or otherwise respond to the initial complaint to March 8, 2019;
MCKOOL SMITH, P




                     15         WHEREAS, Plaintiff’s deadlines to amend the complaint without leave were
                     16   February 7 and 8, 2019;
                     17         WHEREAS, a copy of Plaintiff’s proposed First Amended Complaint is
                     18   attached hereto as Exhibit A;
                     19         NOW, THEREFORE, the Parties stipulate and agree that Plaintiff has obtained
                     20   Defendants’ written consent to file the First Amended Complaint in the above-titled
                     21   action.
                     22         IT IS SO STIPULATED.
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                                               STIPULATION TO FILE FIRST AMENDED COMPLAINT
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                     1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                     2          PLEASE TAKE NOTICE that Plaintiffs are filing a First Amended Complaint
                     3    by stipulation under Rule 15(a)(2)(A), Fed. R. Civ. P.
                     4
                          DATED: March 6, 2019                      Respectfully submitted,
                     5
                                                                    MCKOOL SMITH, P.C.
                     6                                              /s/ Roderick G. Dorman
                                                                    Roderick G. Dorman (SBN 96908)
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                     22                                             Attorneys for Plaintiff
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                     27                                             ATTORNEY FOR DEFENDANTS

                     28                                            2

                                               STIPULATION TO FILE FIRST AMENDED COMPLAINT
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                     1                          LOCAL RULE 5-4.3.4 ATTESTATION
                     2          I, Roderick Dorman, attest that all other signatories listed, and on whose behalf
                     3    the filing is submitted, concur in the filing’s content and have authorized the filing.
                     4                                               BY: /s/ Roderick G. Dorman
                     5                                               RODERICK G. DORMAN
                     6
                     7                                CERTIFICATE OF SERVICE
                     8          I certify that a true and correct copy of the above and foregoing document has
                     9    been served on all counsel of record via ECF on March 6, 2019.
                     10
                     11                                              BY: /s/ Roderick G. Dorman
                     12                                              RODERICK G. DORMAN
                     13
              P.C.
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MCKOOL SMITH, P




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                                                STIPULATION TO FILE FIRST AMENDED COMPLAINT
